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                         IN THE UNITED STATES DISTRICT COURT

                                     DISTRICT OF OR.EGON

                                     PENDLETON DIVISION

ESTATE OF MITILDIT LAd, by and                                 Case No. 2:18-cv-01810-SU
through its Personal Representatwe Entela
Lako,
                                                               STIPULATED GENERAL
                        Plaintiff,                             JUDGMENT OF DISMISSAL
v.                                                             WITH PREJUDICE

SUPERIOR TOWING, INC.; SAMUEL
GOEDHART TRUCKING; and SAMUEL
GOEDHART,

        Defendants/Third-Party Plaintiffs,

V.

STAVRI PLASARI,
                    Third-Party Defendant.


Based upon the stipulation of the parties hereto, pursuant to FRCP 41(a){l}, and it appearing that

the within matter has been fully compromised and settled,

        IT IS HEREBY ORDERED that the within matter is dismissed with prejudice and

without costs to all parties.


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Presented by:
Alison R. Barber
Attorney for Defendant

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Auorney f or Plainliff                 Attorney.for Defendanrs Samuel Goedhart
                                       Trucking & Samuel Goedhart

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